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  NOTICE OF YOUR RIGHT TO JOIN CASE SEEKING TO RECOVER MINIMUM
  WAGE AND OVERTIME PAY FOR SATELLITE TECHNICIANS WHO WORKED
               FOR GUSTECH COMMUNICATIONS, LLC

                  United States District Court for the District of South Carolina
                        Burrell et al. v. Gustech Communications, LLC
                   CIV. CASE NO. No. 18-cv-00508-DCC18-cv-00508-CMC

                                                                             [DATE], 2018

Dear current or former worker of Gustech Communications, LLL (even if designated as
independent contractor)

         Enclosed is a consent form allowing you to “opt-in” to participate in a case that has been
filed by Gary Burrell and Antoine Lee, who worked as satellite television installation technicians
for Gustech Communications, LLC (“Gustech”) in North Carolina and South Carolina and were
allegedly misclassified as independent contractors. This case has been brought in the United
States District Court for the District of South Carolina on behalf of individuals who worked as
satellite television installation technicians for Gustech in Florida, North Carolina, South
Carolina, or Texas, who were allegedly misclassified as independent contractors, and who were
allegedly not paid at least minimum wage for all hours worked and overtime for hours worked in
excess of 40 a week. This is a court-authorized notice.The case has been assigned Civil Action
18-cv-00508-DCC and is pending on the docket of United States Judge Donald C. Coggins, Jr.

        According to the Defendant’s records, you may be eligible to participate in this case
because you have worked as a satellite television installation technician in one of the states listed
above during the last three years and were classified as an independent contractor. In order to
participate in the case and obtain a portion of any judgment or settlement that may be entered in
the technicians’ favor, you must complete and return this consent form to the address below by
no later than [90 days after conditional certification], 2018.

Plaintiff’s Proposed Notice

       You are not obligated to join this lawsuit. In this lawsuit, the Plaintiffs allege that
Gustech violated the federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., by
improperly classifying its technicians as independent contractors, and, as a result, has failed to
pay them minimum wage and overtime compensation.

         The case is at an early stage, and there has not been a decision by the court as to whether
the Plaintiffs’ position or Defendant’s position is the correct one. There has also not been any
settlement reached. If you do not return the enclosed consent form by [90 days after
conditional certification], you may not be considered part of this case and may be unable to
receive a share of any settlement or judgment that the Plaintiffs may obtain. If you do participate
in the case, you will be bound by any ruling entered by the court or settlement reached by the
parties. Plaintiffs’ attorneys are working on a contingency basis, which mean that if there is not
a recovery, they receive no attorneys’ fees. If there is a recovery the attorneys for the class will
receive a part of any settlement obtained or money judgment entered in favor of all members of
the class. You may, however, be required to pay your proportional share of taxable court costs
if the plaintiffs receive an unfavorable decision. Gary Burrell and Antoine Lee, who initiated
this case, will work with Plaintiffs’ counsel to make decisions regarding the progress of this
litigation, and we they welcome your input as well into those decisions. You may also be asked
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 to be a witness or to provide evidence in the case, although not all individuals who submit a
 consent form will If you choose to join this lawsuit, you may be required to do sogive a
 deposition in Columbia, South Carolina, respond to written discovery, and testify in court in
 Columbia, South Carolina.


       Again, to join this case, you must return the enclosed “opt-in” consent form by mail,
e-mail or fax to the address below no later than [90 days after conditional certification]. In
the meantime, if you have any questions, do not hesitate to contact Plaintiffs’ counsel at the
phone numbers or e-mails provided below.

                              Harold L. Lichten
                              Benjamin J. Weber
                              LICHTEN & LISS-RIORDAN, P.C.
                              729 Boylston St., Suite 2000
                              Boston, Massachusetts 02116
                              Telephone: (617) 994-5800
                              hlichten@llrlaw.com
                              bweber@llrlaw.com

                              David E. Rothstein
                              ROTHSTEIN LAW FIRM, PA
                              1312 Augusta Street
                              Greenville, SC 29605
                              Telephone: (864) 232-5870
                              Facsimile: (864) 241-1386
                              drothstein@rothsteinlawfirm.com

         This notice has been authorized by the United States District Court for the District
 of South Carolina. The Court has taken no position regarding the merits of the underlying
 claims under federal or state law. Please do not contact the Court directly; you may contact
 the counsel listed above with any questions you have.is being provided for the sole purpose of
 determining the identity of persons who may be entitled to and wish to participate in this
 lawsuit. Although the court has authorized Plaintiffs’ counsel to send this notice, the
 court expresses no opinion regarding the merits of Plaintiffs’ claims or Defendants’
 liability, if any. Plaintiffs’ claims and the claims of any person who joins this lawsuit may
 be subject to later dismissal if the court finds that the claims lack merit or that the lawsuit
 cannot be litigated on the class-wide basis.

       The Fair Labor Standards Act prohibits anyone from retaliating against you in any
 manner if you choose to take part in this lawsuit.

                                             Yours truly,



                                             Harold Lichten
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                    United States District Court, District of South Carolina
                Burrell et al. v. Gustech Communications, LLC, No.18-CV-00508-
                                            CMCDCC

                          CONSENT TO JOIN COLLECTIVE ACTION
                     Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

        1.   I consent and agree to pursue my claims arising out my employment relationship
 with at OnTrac Gustech Communications, LLC in connection with the above-referenced
 lawsuit.

          2.     I work/worked as a satellite televition television installation technician for Gustech
 in              ___(City, State) from on or about        (month, year) to on or about             (month,
 year).

         3.     I understand that Plaintiffs in this case have this lawsuit is brought under entered
 into a contingency fee agreement with Harold L. Lichten and Benjamin J. Weber of Lichten &
 Liss-Riordan, P.C. that applies to all plaintiffs who join this lawsuit. If I join the Fair Labor
 Standards Act, 29 U.S.C. § 201, et seq.lawsuit, I hereby consent, agree, and “opt in” to become a
 plaintiff herein and to be bound by any judgment by the Court or any settlement of this action.to be bound
 by the contingency fee agreement. I understand that I may obtain a copy of the contingency fee agreement
 on request.

        4.       By choosing to join this lawsuit I understand I will be bound by the judgment,
 whether it is favorable or unfavorable. I will also be bound by, and will share in, as the court
 may direct any settlement that may be negotiated on behalf of all plaintiffs. I hereby designate
 Harold Lichten and Benjamin Weber of Lichten & Liss- Riordan, P.C., at 729 Boylston Street,
 Suite 2000, Boston, MA and David Rothstein of Rothstein Law Firm, PA, 1312 Augusta Street,
 Greenville, SC 29605, to represent me for all purposes in this action.

        5.       I also designate the named plaintiffs in this action, the collective action
representatives, as my agents to make decisions on my behalf concerning the litigation, including
the method and manner of conducting this litigation, entering into settlement agreements, entering
into an agreement with Plaintiffs’ Counsel, the firms of Lichten & Liss-Riordan, P.C. and Rothstein Law
Firm, PA (the “Firms”) concerning representation (with the understanding that the Firms are being paid on
a contingency fee basis, which means that if there is no recovery, there will be no attorneys’ fees, that the
Firms will divide primary responsibility for legal services between the two Firms and that the Firms will
divide fees based on the proportionate amount of work performed by each of the Firms and the respective
billing rates of each of the Firms’ attorneys), and all other matters pertaining to this lawsuit.If I choose
not to join this lawsuit, I understand that I will not be affected by any judgment rendered or
settlement reached in this lawsuit, whether favorable or unfavorable, and I will not be entitled to
share in any amounts recovered (whether by judgment, settlement or otherwise) by Plaintiffs or
any person who joins this lawsuit.

        6.      I hereby designate Harold L. Lichten and Benjamin J. Weber of Lichten & Liss-
 Riordan, P.C. and any other attorneys with whom they may associate to represent me for all
 purposes in this action.

        7.       I also designate the named plaintiffs in this action, the collective action
representatives, as my agents to make decisions on my behalf concerning the litigation, including
the method and manner of conducting this litigation, entering into settlement agreements, entering
into an agreement with Plaintiffs’ Counsel concerning representation and all other matters
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pertaining to this lawsuit.

I hereby consent to joint this lawsuit.

 Signature:

 Date:

 Name:

 Address:

 Telephone:

 E-Mail:




                                 COMPLETE AND RETURN TO:
                                 LICHTEN & LISS-RIORDAN, P.C.
                                        ATTN: Shae Cleary
                                   729 Boylston Street, Suite 2000
                                         Boston, MA 02116
                                        Tel: (617) 994-5800
                                        Fax: (617) 994-5801
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